                              NO.  07-10-0222-CV
					 
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JUNE 24, 2010

	______________________________


	In re: JOHNNY HINOJOS LUNA,

				Relator

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	On Original Proceeding for Writ of Mandamus

	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ
	Pending before the court is the application of Johnny Hinojos Luna, for a writ of mandamus.  The petition is a request for us to order the Honorable Ana Estevez, 251st District Court, to act on his motion for "Nunc Pro Tunc," wherein he claimed that he did not receive jail time credit while awaiting trial.   We dismiss the petition as moot.
	On June 14, 2010, we directed Judge Estevez to respond to relator's petition for mandamus.  On June 18, 2010, Judge Estevez filed her response which included an "Order Granting Jail Time Credit Nunc Pro Tunc," wherein she granted relator's motion and allotted him the requested jail time credit.   
	Accordingly, we do not reach the merits of the issues raised, and the petition for writ of mandamus is dismissed as moot.  See In re Duncan, 62 S.W.3d 333, 334 (Tex. App. - Houston [1[st] Dist.] 2001, orig. proceeding).

							Brian Quinn
							Chief Justice







































